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   AFFIDAVIT IN SUPPORT OF APPLICATION FOR COMPLAINT AND ARREST
                                            WARRANT
                                       INTRODUCTION


        I, Ronald Morin, having been first duly sworn, do hereby depose and state as follows:
        1.      I am a Special Agent with the Department of Homeland Security, Immigration
and Customs Enforcement, Homeland Security Investigations (HSI), and have been so
employed since May 2006. I am currently assigned to the Manchester, New Hampshire field
office. As part of my regular duties as a Special Agent, I investigate criminal violations
relating to a broad range of immigration and customs related statutes, including those relating
to child exploitation, child pornography, and human trafficking. Moreover, I am a federal law
enforcement officer who is engaged in enforcing the criminal laws, including Stalking, in
violation of 18 U.S.C. § 2261A, and I am authorized to request and execute warrants issued
under the authority of the United States.
        2.      This affidavit is made in support of an application for a criminal complaint and
arrest warrant for Michael Adam CHICK (DOB              1982) for violations of 18 U.S.C. § 2261A
(interstate stalking).
        3.      The statements contained in this affidavit are based in part on: information
provided by HSI Special Agents, New Hampshire Internet Against Crimes Task Force (NH ICAC),
Greenland (NH) Police Department (GPD), Eliot (ME) Police Department (EPD); written reports
about this and other investigations that I have received, directly or indirectly, from other law
enforcement agents, information gathered from the service of administrative subpoenas; the results
of physical and electronic surveillance conducted by law enforcement agents; independent
investigation and analysis by HSI Special Agents/Analysts and computer forensic professionals;
and my experience, training and background as a Special Agent (SA) with HSI. Because this
affidavit is being submitted for the limited purpose of securing authorization for the requested
arrest warrant, I have not included each and every fact known to me concerning this investigation.
Instead, I have set forth only the facts that I believe are necessary to establish the necessary
probable cause that CHICK has violated Title 18 U.S.C. § 2261A.



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                              Background of Investigation
4.     On April 18, 2022,                            of Greenland, New Hampshire and the
parents of an eight-year-old male known herein as John Doe1, reported to the Greenland Central School
that their son’s bus driver, “Mike C” (later identified as Michael Chick, DOB         82 of
            Eliot, Maine) had been giving John Doe1 and his sister gifts (candy, Pokémon paraphernalia,
and other small toys) regularly on the bus. Additionally, when the children were absent from school,
Mike would leave letters for them at the residence saying how much he
misses them. The          provided a copy of a get-well card from Chick to the family from
around Thanksgiving of 2021.          said that at one point John Doe1 had told her about a conversation
that he and his sister had while on the bus with Chick. During the exchange Chick shared with them
where he hid a key for his house (specifically saying “under a rock near the door”) and John Doe1’s
sister started to share that they keep their key under the door mat. (Unknown how much she actually
said.) This increased                    concerns.


5.     On May 5, 2022, Chick stopped and asked                   if he could attend John Doe1’s Little
League baseball game. She was very upset about this request and told him that John Doe1’s games were
for family only and contacted her husband.                later contacted the school to ask for assistance
with the matter. School Administration contacted the bus company, First Student, and requested that
Chick be assigned to a different route (so he would not drive John Doe1 and his sister anymore). The
school also suggested that the family contact the Greenland Police Department if they felt they were
being harassed. Greenland Central School Principal Hallee also contacted the School Resource Officer,
Nicholas Drew, to update him on the complaint from the


6.     On May 5, 2022, the          spoke with Ofc Michael Drake to report the ongoing harassment.
The following day, Officer Drake and SRO Drew spoke with Michael Chick about his behavior. When
Officer Drake asked Chick why he thought we (Greenland PD) wanted to speak with him, Chick
responded that it “probably” had to do with John Doe1. They discussed how he invited himself to John
Doe1’s baseball game and Chick justified that he was going to be watching his “nephew” and thought it
would get him interested in Little League. SRO Drew and Drake informed Chick that he was to have no
more contact with John Doe1 or his family.

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       7.       On July 2, 2022,            came to the Greenland Police Department to report
another incident between JohnDoe1 and Chick. was cleaning John Doe1’s bedroom and located two
Tracfone cell phones in a Pokémon lunch box in the closet/under the eaves.          questioned his
son and learned that Chick had given John Doe1 the two cell phones. John Doe1 admitted that several
days after Greenland officers told Chick to have no further contact with John Doe1, Chick called John
Doe1 over to his bus to offer him a cell phone. John Doe1 declined at first but after other offers he
eventually accepted them.


8.     The           could not see if any photographs had been sent or received but noted that there were
three contacts in stored in the cell phones. AC, BB and CC (with associated phone
numbers of:               4,            05 and              39 respectively).        also advised
that John Doe1 provided the passcode for both of the cell phones: “8888”. John Doe1 told his parents
that he had only spoken to Chick one time on one of the phones and they talked about Pokémon.


9.     The           provided Officer Drake with the Pokémon lunch box that contained the two
Tracfones and a charging cable and speaker. Officer Drake secured the cell phones in a Faraday
bag and logged them as evidence. The             were very concerned for their son’s safety as well
as their own, verbalizing that they were afraid that Chick would come to their home and kidnap John Doe1.
The               advised that they were going to install surveillance cameras around their home.


10.    On July 6, 2022, Greenland Sergeant Wayne Bertogli attended the Portsmouth Child Advocacy
Center (CAC) where a forensic interview of John Doe1 was conducted. During the interview, John Doe1
disclosed the same information that he had obtained the cell phones from Chick and had spoken to Chick
one time on the cell phone about Pokémon.


11.    On July 12, 2022, Sgt. Bertogli transferred the two Tracfones to the custody of Detective Duane
Jacques of the Portsmouth Police Department who is assigned to the NH ICAC Unit and is certified and
extensively trained to process electronic data from cell phones via Cellebrite equipment. On July 13, 2022,
Detective Jacques advised that all of the data had been extracted

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and would provide the information via an electronic storage device (specifically, a "thumb
drive").


12.       Jacques’ report reflected that the Tracfones were assigned to the following phone
numbers:                 99 and              14. Both of the phones retained information that they
had been connected to a Wi-Fi network named “1986state” and “chickhouse”. (Later, a
Homeland Security Investigator (HSI) was able to confirm that “1986state” was a network at the
home address of Chick:                         Eliot, ME.)
          •    On the             99 (22GRE-56-PR) phone, Jacques found a deleted picture
               (“thumbnail”) of Chick’s face (while laying on the floor), two (2) incoming SMS
               messages from Chick’s cell phone (including one on 06/02/22 at 4:07 that says,
               “Gotta do it again bro”.), a screenshot of a weather app for the Eliot, ME area, one
               news story in the web history viewed on 05/21/2022: “A 1-year-old boy died after
               being raped by 2 Russian soldiers, Ukraine says from Start Magazine”.
          •    On the             14 (22GRE-57-PR) phone, Jacques documented six incoming
               SMS messages from Chick’s cell phone, including one on 06/08/22 at 1:51 that says,
               “Clearly, you just aren’t going to listen. So I think I might tell them to just go ahead
               and do it.” It also contained a screenshot of a weather app for the Eliot, ME area like
               the other phone.


13.       On July 20, 2022, Sgt. Bertogli and Chief Laurent reviewed surveillance footage
(received by and through a search warrant) from the First Student buses concerning Chick and John Doe1.
They specifically reviewed dates and times before and after school between May 6, 2022 -June 15, 2022.
They reviewed each disc and recordings and matched them up by date/time with SRO Drew's school
surveillance recordings as well. The bus recordings had both audio and video, although the audio was
difficult to hear many times because of the other children on the bus. Excerpts are as follows:


      •   05/06/22 @ 1311. Unknown bus.




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          Chick is talking to another bus driver (female) and explains that he is “switching”
          with Marcia for today, but unsure what’s going to happen Monday (possibly
          assigned to another district). @ 1318 Ofc Drake approaches him (both standing
          outside the bus). Ofc Drake explains that there’s an issue from a parent. Chick
          says no one has talked about this before, then later admits that it was “already
          brought up by the manager”. Chick said he didn’t think gift bags were a problem.
          SRO Drew joins them and explains to Chick that “there’s a line you gotta draw”.
          He provided his contact cell number as              39. Ultimately Chick says he
          understands and gets back on his bus at 1325.


•   05/13/22 @ 1123. On Bus E.
          John Doe1 gets on the bus, wringing his hands.
          Chick: I’m not mad at you. I understand why you didn’t lie to your mom. We’re still in this
          situation, right? Have you been worried about it? (John Doe1: Yeah) Remember our deal?
          The reason they haven’t gone to that (inaudible) is I’ve been paying $1,000 a week
          (inaudible) hold them off while I try to figure out what I gotta do. At some point I want to
          give you this (inaudible) cell phone. (John Doe1: I don’t think I can.) You can use it at
          school. Use it in the bathroom. (John Doe1: I don’t think I can take that.) I don’t know what
          else … I don’t know what to do then.
          (John Doe1: Maybe you can figure something out.) I’ll work on it. Have a good day.


•   05/18/22 – Bus E recording shows 05/08/22 @ 1727. NO AUDIO.
          John Doe1 waves, looks, then pauses. John Doe1 gets on the bus. Chick shows John Doe1
          something. They talk and John Doe1 moves his backpack to one shoulder before leaving.


•   05/20/22 @ 0702. On Bus E.
          John Doe1 gets on the bus.
          Chick: Can’t say anything about this. It has to be done today. Take this and put it
          in your backpack. At some point after 9 o’clock go in the bathroom when you’re



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          by yourself and call the number that’s been pre-programmed into it. Ok? (John Doe1:
          Okay.) The passcode is – just remember your age – it’s 8888 … four 8s.
          You won’t have to bring this home. You can drop it off (inaudible) (John Doe1: Can I do
          it at my house?) You’d rather have the – (John Doe1: I’d rather do it at my house.)
          For today can you just call at the school and then return the phone to me? Sorry. 8888


          @ 1325. On Bus E.
          John Doe1 gets on the bus.
          (John Doe1: I have the phone for you.)
          Chick: Yeah? You gonna bring it home with ya? You said you were more comfortable
          bringing it home. As long as you leave it somewhere they’re not gonna see it. Don’t let
          them see it, ok?




•   05/24/22 @ 1324. On Bus E.
          John Doe1 gets on the bus.
          Chick: What happened to the thing? I’m sure the battery’s dead now. (John Doe1: I
          couldn’t call (inaudible).) Nobody found it, right? (John Doe1: Yeah, nobody found it.)
          This one’s way easier to use. (John Doe1: What?) This one’s way easier to use. (John
          Doe1: Ok.) There are three (3) contacts in it. (John Doe1: Ok.) The contacts are easy to
          find – there’s an A, a B, and a C, alright? That’s the name of the contacts under favorites.
          If you go to contacts, then favorites … try A first, then if that doesn’t go through, then B,
          then go to C, ok? If anyone does find it, you found it on the ground at school near the lost
          and found. (John Doe1: Ok.) I
          didn’t give it to you.


•   05/27/22 @ 1122. On Bus E.
          John Doe1 gets on the bus.
          Chick: What happened this time? (John Doe1: What?) What happened this time? (John
          Doe1: I’ll save it for tomorrow. I forgot it today.) I can’t keep telling them that you

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          forgot. (Inaudible) You know when you plug it in then you hit a button on the side.
          (John Doe1: I did, but it wouldn’t work.)
          Did blue lights come on? (John Doe1: No.) (Inaudible.) Can you take this one? This
          is how you use it – push this button. Contacts in there …A, B, C … just hit C. I can’t
          keep giving them excuses. (John Doe1: Inaudible.)


•   05/31/22 @ 0702. On Bus E.
          John Doe1 gets on the bus.
          Chick: Did you bring them? (John Doe1: I don’t have them.) Well, where are they?
          (John Doe1: They’re at my house.) So you understand what’s going to happen if you
          don’t do it? (John Doe1: Yeah.) They’re like this close. (John Doe1: I’ll try doing it
          today (inaudible).) Well, yeah, but okay. Just return this one later. You don’t have to
          bring this one home. (John Doe1: Ok.) At school. Take this phone. (John Doe1: I
          can’t.) I can’t keep telling them that you forget. (John Doe1: I’ll try doing it today at
          my house.) They’re dead. The phones are dead. (John Doe1: They are?) The batteries
          are dead.
          Just in the bathroom at school. (John Doe1: I can’t. I’ll try doing it with the other
          phone, okay?) Okay. The one with the big charger? (John Doe1: Yeah.) If you can’t
          get that one to charge, bring it tomorrow.
•   06/01/22 @ 1324. On Bus E.
          John Doe1 gets on the bus.
          Chick: Hi there. Did you bring one? (John Doe1: Yeah.)
          If I give you a fully charged one, will you be able to call? (Inaudible.)
          The bus isn’t going to leave without you. Can you read this real quick? (John Doe1:
          What?) Can you read this real quick? So I don’t have to say it. (John Doe1 looking at
          something in Chick’s lap.) (John Doe1: Okay, fine. Gimme it.) I’m not going to sell
          your pictures. Please remember. (John Doe1: I’ll try doing it today. There might be a
          uhhhh … inaudible.)


•   06/06/22 @ 0700. On Bus E.

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      John Doe1 gets on the bus.
      Chick: You didn’t bring the dead one?
      Yesterday, when your mom and down were in Boston and you were at your grandmother’s house,
      we were right across the street. (Inaudible) and I’m doing everything I can to stop them from doing
      very bad things. You remember last week when you called? (John Doe1: Yeah.) I don’t know if
      you listened to everything I said, but you need to check in. (John Doe1: Check what?) You need to
      check in daily. Thursday you walked by (John Doe1: I’m sorry.) – I called you over and you just
      kept on walking. I had to tell them that. (John Doe1: I don’t think I heard you.)
      (John Doe1: I’ll try doing it today.) Alright. Can you stop by the bus this afternoon?


      @ 1323. On Bus E.
      John Doe1 gets on the bus.
      Chick: So, Last…Last Wednesday was good (inaudible) and got your call, but then the rest of the
      week, you didn’t(inaudible). If I have to tell you something
      (John Doe1: Yeah.) in the week to do, you didn’t do it and that’s why they followed you to your
      grandmother’s house. Especially if you’re gonna go somewhere, you gotta let me know
      (inaudible). They were there yesterday, and they were going to cause (inaudible) that needed to be
      done and you weren’t going to do it. I lied to them and said you did it Saturday. (John Doe1:
      Yeah.) (Inaudible) don’t have the proof that’s on the phone and I can’t get the phone right now.
      So, if I get the phone Monday, I can give it to them Tuesday … but that means what you were
      supposed to do Saturday and what I told them was done you obviously haven’t done, so you have
      to do it today. (John Doe1: Yeah.) Alright? (John Doe1: Yeah.) So, even if you (inaudible), put
      that in your backpack (inaudible) charger again, okay?




14.      With the additional information from the videos, Greenland Police Department sought the
help of HSI, due to the threats (usually via “they/them”) and instructions of something John Doe1
needed to do with one (or all) of the cell phones. HSI was able to set up a second CAC interview
of John Doe1 conducted by an HSI Forensic Interviewer on July 26. During this interview, John
Doe1

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confirmed that there were actually three (3) cell phones that were exchanged with Chick at
different times. (Law enforcement was able to determine the third phone was a Tracfone with the
cell number               05.) John Doe1 answered most questions during the forensic interview
with “I don’t know” or “I can’t remember,” including questions regarding some of the specific
conversations outlined above.


15.    Chief Laurent summarized the following activity between Chick’s cell phone
  39) and the missing Tracfone                05):


T-Mobile records on               39 (Michael Chick’s phone)
All in Coordinated Universal Time (UTC), which is four (4) hours ahead of Eastern Standard
Time (EST).


Records involving Tracfone               05 (per VW Records this was purchased on 05/22/22):
05/24/22       03:03:14         TXT to CHICK Phone
   Tuesday     03:04:48         Outgoing call to 1205        28 Seconds
               03:05:51         Outgoing call to 1205        72 Seconds
               03:12:02         Outgoing call to 1205        Abnormal Completion/Network
Interruption
               03:21:55         Outgoing call to 1205        Abnormal Completion/Network
               Interruption 03:22:24 Outgoing call to 1205         9 Seconds
               16:39:25         Outgoing call to 1205        9 Seconds
               16:39:42         Outgoing call to 1205        Abnormal Completion/Network
Interruption
               16:39:53         Outgoing call to 1205        5 Seconds
               17:49:56         Outgoing call to 1205        184 Seconds
               18:13:21         Outgoing call to 1205        54 Seconds
               18:18:49         Outgoing call to 1205        192 Seconds
               18:25:34         Outgoing call to 1205        271 Seconds
               18:41:51         Outgoing call to 1205        47 Seconds

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             19:51:29   Outgoing call to 1205   43 Seconds
             20:05:37   Outgoing call to 1205   35 Seconds
             20:31:57   Outgoing call to 1205   21 Seconds
             21:31:55   Outgoing call to 1205   8 Seconds
             21:31:57   TXT to CHICK Phone
             22:10:23   Outgoing call to 1205   4 Seconds
             22:16:13   Outgoing call to 1205   95 Seconds
             23:26:18   Outgoing call to 1205   39 Seconds
             23:45:25   Outgoing call to 1205   68 Seconds


05/25/22     00:01:00   Outgoing call to 1205   70 Seconds
  Wednesday 00:03:42    Outgoing call to 1205   365 Seconds
             10:19:09   Outgoing call to 1205   8 Seconds


05/26/22     00:33:04   Outgoing call to 1205   6 Seconds
  Thursday 18:16:37     Outgoing call to 1205   5 Seconds
             19:28:11   Outgoing call to 1205   3 Seconds
             20:35:58   Outgoing call to 1205   2 Seconds
             21:55:09   Outgoing call to 1205   No time noted
             23:19:17   Outgoing call to 1205   2 Seconds


05/27/22     10:46:25   Outgoing call to 1205   2 Seconds
  Friday     20:59:21   Outgoing call to 1205   No time noted
             20:59:28   Outgoing call to 1205   2 Seconds
             21:50:36   Outgoing call to 1205   2 Seconds


06/02/22     18:23:17   Outgoing call to 1205   1 Second
  Thursday


06/07/22     01:08:47   Outgoing call to 1205   7 Seconds

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   Tuesday      01:09:12       Outgoing call to 1205          19 Seconds
                18:12:57       TXT to CHICK Phone


06/09/22        22:40:58       Incoming: 1205 to CHICK Phone          57 Seconds
   Thursday


16.      On July 26, 2022, Special Agent Eric Tracy of HSI conducted surveillance of
      and observed Michael Chick’s 2009 Chevrolet Malibu bearing Maine registration 1200HW
parked in the driveway of the residence. SA Tracy checked for available Wi-Fi networks while
parked to the left of the driveway at the target residence and identified the available secure
network “1986state”.


17.      On August 1, 2022, Greenland PD was advised that Portsmouth Police Department had a
complaint about Chick on July 11, 2022. On that date, a caller advised that a male subject sitting
in a Chevy Malibu with Maine tags 1200WT (registered to Chick) was parked along the road
taking pictures of kids in Water Country (water park). On 08/02/22 Chief Laurent spoke with the
complainant,                , who said that the individual was taking pictures and/or video using a
cell phone. He described the driver as a white male with “brown bushy hair” being the only
occupant of the vehicle. He said he drove by very slowly and they made eye contact. After
passed, the vehicle pulled out and left. Portsmouth PD was unable to find the suspect or the
vehicle.


18.      On August 2, 2022, Eliot, ME Police investigators obtained a search warrant issued at
Biddeford District Court. Investigators noted that Chick’s vehicle was not at the residence
during the overnight and early morning hours. Investigators spoke with Judith Chick (Michael’s
mother that also lives at                  in Eliot, ME) and using a ruse requested to know
Michael Chick’s whereabouts. During the conversation with Judith, she indicated that he was
currently in Old Town, Maine with a friend but had been down in the area for several days with
the friend’s four-year-old son, John Doe2. I learned that Chick had stayed alone with the boy at
the Ramada Inn in Kittery, Maine (6.1 miles from his residence) for the past two (2) nights.
Judith
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indicated that yesterday (08/02/22), Chick and John Doe2 came to the residence to use the pool
before returning to Old Town, Maine. Records obtained from the Ramada Inn in Kittery
confirmed that Chick was a guest from July 31 through August 2, 2022.


19.      Eliot PD Sgt. Ronald Lund then spoke with Michael Chick when his mother called his
cell phone,               39 and indicated that wanted to speak with him. Chick verified that he
was at                              Old Town, Maine. Sgt. Lund informed Chick that he could
send Old Town Police Department over to view his vehicle. Chick stated that he was staying
with friend         and wouldn’t be back to the area until later in the week.


20.      Eliot investigators then communicated with the Old Town Police Department and
requested their assistance with executing our search warrant (Chick’s person and his vehicle).
Other investigators contacted HSI Bangor and Maine Internet Crimes Against Children (ICAC)
to attempt an interview with Chick at the same time. Once Old Town Police Department and HSI
Agents made contact with Chick and began to interview him and execute the search warrant for
his person and vehicle, while other investigators responded to the Eliot home to execute the
search warrant of the residence.


21.      After some time, investigators in Old Town advised that in the car they had located a
TracFone, a digital camera, duct tape, rubber gloves, sweet (candy) liquor, candy, children’s
clothing including underwear, children’s toys, a magnetic GPS vehicle tracker along with his T-
Mobile cell phone                  39 that was on his person. Investigators only seized the two (2)
cell phones as authorized by the search warrant that was issued (referenced above) on August 2,
2022. Chick provided limited information in a recorded interview. Chick and his vehicle were
released from the Old Town scene.


22.      Investigators at the Eliot residence executed the premises search warrant. During the
execution of the search, Judith Chick arrived and identified which bedroom belonged to her son,
Michael Chick. Located in the bedroom was:
              o A TracFone BLU (black),

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 o An Apple iPhone smartphone (black),
 o Two (2) TracFone packaging/boxes,
 o T-Mobile billing documents,
 o Several surveillance cameras including two (2) “button” cameras (with SD cards)
    and tracking devices,
 o Several notes on school bus student permission slips. One read “I am going to run
    out of money. $1,000 per week is what is keeping your family alive and together.
    And I will run out of money.” This aligned with the above referenced school bus
    audio recording transcription on May 13, 2022 at 11:23 a.m.
 o Large Ziplock baggie of children’s underwear.
 o Handwritten notes/instructions (as if written directly to John Doe1), including, but
    not limited to:
           “Good job, you were great last night. Thank you. You saved yourself.
            Would have taken you away on Friday.”
           “Wasn’t hard to do, right?” This particular note goes on to assign the
            reader to use the camera and, “Take off your sleeping shorts and put on
            your undies that you wore today. No shirt, nothing else. Use the phone, go
            to the camera” and writer gave the reader detailed instructions on how to
            take body selfies from different angles/positions and then offers the reader
            to perform “extra credit” by making a “video of anything you would
            consider naughty”.
           “Make sure it is a new video.”
           “Take phone, wrap the phone up in the undies. Put them in a zip lock bag,
            zip it up tight. Put that in another zip lock bag, zip it up tight. Put that in
            the lunch box, zip it up. Check to make sure the coast is clear, bring lunch
            box into bathroom. Open window, drop straight down. Then you’re done.”
           A series of notebook-lined paper containing handwritten instructions on
            keeping a secret, specifically from parents, teachers, and police officers in
            order for your family to not be killed.



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    “This whole thing has been very hard for me to talk about. My own family has
     never heard half of this stuff. But I felt that it was important to tell you. I am only
     alive today because of you. John Doe1 [full name used in actual writing], you
     saved my life, and for that I will always be thankful and for that I truly love you.”
    A written reward system as well as specific requests for “photos/videos,
     information, and items such as clothing.”, a notebook where it appears Chick
     writes to John Doe1 and John Doe1 writes back to Chick, numerous school
     writings belonging to John Doe1, and a
    Handwritten note practicing Spanish phrases, including a phrase loosely
     translated, “Can I suck you off this weekend?” John Doe1 speaks fluent Spanish.


 o Computer generated documents.
           “YOU HAD TOO MANY CHANCES THIS IS NOT WORKING WE
            ARE DONE FUCKING AROUND MAKE THIS HAPPEN NOW OR
            THE KID DISAPPEARS.” (Attached hereto as Exhibit 1)
           “TODAY IS THE DAY YOU HAVE HAD FAR TOO MANY
            CHANCES. SAY GOODBYE. WE ARE DOING THIS. DO NOT RUN.
            DO NOT HIDE. WE KNOW WHERE TO GET YOU. YOU HAD TO
            HAVE KNOWN THIS DAY WAS COMING. YOU HAVE BEEN
            FUCKING UP WAY TOO MUCH. YOU HAVE FAILED TO MEET
            OUR DEMANDS.”
 (These notes are consistent with digital communications which is one of the
 methods in which Chick was communicating with John Doe1.)
           A printed computer image of what appears to be a young girl with braided
            hair with a severed head lying next to the rest of her body.
 o Digital printed photographs of children at a baseball game and separated by
     individual child within each envelope.
 o Two (2) laptop computers




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           o Thumb Drives (two (2) Sandisk black 256 GB, one (1) Sandisk with blue cord 8
               GB, one (1) PNY black 16 GB, and one (1) plain black 32 GB media storage
               device,
           o Loose SD Cards (one (1) plain black Micro SD card 32 GB)
23.    The notes recovered from Chick’s bedroom align with the threatening and instructional
language heard on the school bus audio recordings.


24.    Based upon the findings, investigators returned to the Eliot police station in order to write a
second search warrant in order to expand the items to be seized to include electronics. It also
contained a second section to re-search Chick’s vehicle in order to seize items that were observed but
not seized by investigators in Old Town, ME. The search warrant was signed by a Judge and returned
to the scene. At that time, investigators seized the electronics that were previously identified and
summarized above.


25.    Chick arrived at the                   residence around 8:00 p.m. GPD Sgt Bertogli and HSI
Agent Perrella greeted him upon his arrival (parking on the front lawn of the home) and asked to
speak with him. They stood across the front yard, away from the other investigators who were still
performing the search. Chick made the following statements/admissions:
           o That he had taken two one minute videos of John Doe2 in the bathroom but claimed he
               did not watch them.
           o He threatened John Doe1 during conversations on the bus.
           o He gave John Doe1 three (3) different Tracfones.
           o He has stayed at the Ramada Inn in Kittery with John Doe2 on more than one occasion.
           o He put the computer-generated/printed note (referenced above and attached hereto as
               Exhibit 1) on his lap and asked John Doe1 to read it.
           o He said he had some pictures of John Doe1 (possibly on the phone) in public settings.
           o He said that he cares a lot about John Doe1.
           o That he placed magnetic cellular GPS trackers on each of John Doe1’s parents’ vehicles
               (described the location he placed them in detail) and, therefore, knew that they had
               gone to the Greenland police station on several occasions. He said the

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                trackers were still there and active. [Note: These were subsequently retrieved
                from the          vehicles by Greenland PD. The trackers were located on the
                vehicles where Chick described having placed them.]
            o He stated he had been to the              residence between 6 – 10 times during the
                night just to walk around the house. (He denied doing so with the intent of picking
                up a lunch box/cell phone that he had instructed John Doe1 to take pictures of
                himself with.)
            o He said he spoke with John Doe1 several times on the phone (via the cell phones
                that he provided to John Doe1).


26.     When Chick indicated that he didn’t want to talk anymore, investigators executed the
second search warrant of Chick’s vehicle and were able to seize the digital camera, magnetic
cellular GPS tracker.


27.     Subsequently, Greenland PD met with the               family to advise them of some of the
additional information that had developed as a result of the search. The            were extremely
distraught and fearful for the safety of their family. They did not feel it was safe to remain in
their home and left to stay in an alternate location.


  28.     On August 5, 2022, HSI SA Michael Perella met with                              advised that John
 Doe1 had begun to share information with his parents regarding his interactions with Chick that he had
 been too fearful to share previously.          advised that John Doe1 would be willing to participate in a
        follow up forensic interview to discuss the information. In general, SA Perella learned from
        that John Doe1 had talked about an organization that Chick referred to as “The Team.” Chick told
John Doe1 that “The Team” was the organization that was making threats towards John Doe1 and his
family. Chick told John Doe1 that “The Team” had between 8-800 members, and that if John Doe1 did
not meet their demands, “The Team” would go to “Plan B,” which would result in John Doe1 being
kidnapped and tortured. [Note: at this time, John Doe1 has not disclosed the nature of all of the demands
that were made of him by Chick, but he did relay that Chick asked him to make a video and that “The
Team” liked clothing and underwear.]

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29. gave permission for SA Perella to show John Doe 1 the note attached hereto as Exhibit 1
to see whether he recognized it and could confirm that the note was shown to him by Chick on
the bus. SA Perella met briefly with John Doe1, who reviewed the note and confirmed that
Chick had shown him the note on the bus.


                                         CONCLUSION
30.    Based on the foregoing, there is probable cause to believe Michael CHICK has engaged
in interstate stalking in violation of 18 U.S.C. § 2261A.




                                              _/s/ Ronald Morin______________________
                                              Special Agent Ronald Morin
                                              Department of Homeland Security
                                              Homeland Security Investigations

        The affiant appeared before me by telephonic conference on this date pursuant to Fed. R.
P. 41 and affirmed under oath the contents of this affidavit and application.




       8/5/2022
Date: _________                               ____________________________
                                               /s/ Andrea K. Johnstone
                                              Hon. Andrea K. Johnstone
Time:_________
      8:09 PM, Aug 5, 2022                    United States Magistrate Judge




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NAME: MICHAEL A CHICK
DATE OF BIRTH:        1982
EYE COLOR: Brown
HAIR COLOR: Brown
HEIGHT: 509
WEIGHT: 230
GENDER: Male
SSN:          05
RESIDENCE                ELIOT,ME 03903
COUNTRY: United States of America (USA)

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                Exhibit 1




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